 1                          Index of Exhibits to Ridley Declaration
 2   Exhibit
                                       Description                              Page Nos.
 3    No.
               A true and correct copy of a table listing of all the Courts
 4     1       wherein Eileen R. Ridley has been admitted to practice law.         1-3
 5             A true and correct copy of Eileen R. Ridley’s Current
       2       Biography.                                                          4-6
 6
               A true and correct copy of excerpts from the transcript of the
 7     3                                                                           7-70
               deposition of Jason Ellis taken on March 4, 2019.
 8             A true and correct copy of excerpts from the transcript of the
       4       deposition of Jason Ellis taken on March 5, 2019.                 71-104
 9
               (Redacted Public Version per Court Order Dkt. No. 107)
10             A true and correct copy of excerpts from the transcript of the
       5       deposition of Susan Huffman taken on January 21, 2019.            105-127
11
               (Public Version per Court Order Dkt. No. 107)
12             A true and correct copy of excerpts from the transcript of the
       6       deposition of Fred Figueroa taken on February 19, 2019.           128-153
13
               (Public Version per Court Order Dkt. No. 107)
14             A true and correct copy of excerpts from the transcript of the
15
       7       deposition of Troy G. Pollock taken on February 26, 2019.         154-176
               (Public Version per Court Order Dkt. No. 107)
16             A true and correct copy of excerpts from the transcript of the
17
       8       deposition of Robert Lacy, Jr. taken on March 13, 2019.           177-189

18             A true and correct copy of Defendant’s Detainee Voluntary
       9       Work Program Agreement Form, Bates No. CCOG22900.                   190
19             (Public Version per Court Order Dkt. No. 107)
20             A true and correct copy of Defendant’s Detainee Voluntary
       10      Work Program Agreement Form, signed by Plaintiff Jonathan           191
21             Gomez.
22             A true and correct copy of a detainee file, Bates Nos.
       11      CCOG43011 through CCOG43166.                                      192-347
23             (Redacted Public Version per Court Order Dkt. No. 107)
24             A true and correct copy of Otay Mesa Detention Center’s
       12      Sanitation and Hygiene Policy, effective September 1, 2015,       348-351
25             Bates Nos. CCOG2711 through CCOG2714.
26             (Public Version per Court Order Dkt. No. 107)
               A true and correct copy of Stewart Detention Center’s
27     13      Sanitation and Hygiene Policy, effective April 1, 2013, Bates     352-355
28             Nos. CCOG7912 through CCOG7915.
               (Public Version per Court Order Dkt. No. 107)

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 1   Exhibit
                                      Description                          Page Nos.
 2    No.
               A true and correct copy of San Diego Correctional Facility’s
 3     14      Sanitation and Hygiene Policy, effective February 17, 2004,     356-359
 4             Bates Nos. CCOG8558 through CCOG8561.
               (Public Version per Court Order Dkt. No. 107)
 5             A true and correct copy of North Georgia Detention Center’s
 6     15      Sanitation and Hygiene Policy, effective April 1, 2009, Bates   360-363
               Nos. CCOG32093 through CCOG32096.
 7
               (Public Version per Court Order Dkt. No. 107)
 8             A true and correct copy of Northeast Ohio Correctional
       16      Center’s Sanitation and Hygiene Policy, effective June 1, 2004, 364-366
 9
               Bates Nos. CCOG31605 through CCOG31607.
10             (Public Version per Court Order Dkt. No. 107)
               A true and correct copy of T. Don Hutto Residential Center’s
11     17                                                                      367-372
               Sanitation and Hygiene Policy, effective May 8, 2006, Bates
12             Nos. CCOG76351 through CCOG76356.
               (Public Version per Court Order Dkt. No. 107)
13
               A true and correct copy of Stewart Detention Center’s
14     18      Sanitation and Hygiene Policy, effective October 1, 2006,       373-376
               Bates Nos. CCOG8881 through CCOG8884.
15
               (Public Version per Court Order Dkt. No. 107)
16             A true and correct copy of San Diego Correctional Facility’s
       19      Sanitation and Hygiene Policy, effective April 11, 2003, Bates  377-381
17
               Nos. CCOG30664 through CCOG30668.
18             (Public Version per Court Order Dkt. No. 107)
19             A true and correct copy of La Palma Correctional Center’s
       20      Sanitation and Hygiene Policy, effective January 22, 2018,      382-385
20             Bates Nos. CCOG32688 through CCOG32691.
21             (Public Version per Court Order Dkt. No. 107)
               A true and correct copy of Otay Mesa Detention Facility’s
22     21      Detainee Admission and Orientation Handbook, dated              386-436
23             January 2018, Bates Nos. CCOG19841 through CCOG19891.
               A true and correct copy of Florence Correctional Center’s
24     22      Detainee Handbook, dated July 10, 2012, Bates Nos.              437-472
25             CCOG21859 through CCOG21894.
               A true and correct copy of San Diego Correctional Facility’s
26     23      Inmate/Detainee Admission and Orientation Handbook, dated       473-504
27             October 2007, Bates Nos. CCOG2222 through CCOG2253.
               A true and correct copy of Laredo Processing Center’s
28     24      Detainee Handbook, dated November 2016, Bates Nos.              505-580
               CCOG19498 through CCOG19573.
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 1   Exhibit
                                      Description                          Page Nos.
 2    No.
               A true and correct copy of Eloy Detention Center’s 2013
 3     25      Admissions Handbook, Bates Nos. CCOG21164 through               581-637
 4             CCOG21220.
               A true and correct copy of Houston Processing Center’s 2013
 5     26      Admissions Handbook, Bates Nos. CCOG22121 through               638-663
 6             CCOG22146.
               A true and correct copy of Otay Mesa Detention Center’s
 7     27                                                                      664-669
               Food Service Post Orders, Bates Nos. CCOG2833 through
 8             CCOG2838.
               (Redacted Public Version per Court Order Dkt. No. 107)
 9
               A true and correct copy of Laredo Processing Center’s Food
10     28      Service Post Orders, Bates Nos. CCOG7637 through                670-675
               CCOG7642.
11
               (Redacted Public Version per Court Order Dkt. No. 107)
12             A true and correct copy of Stewart Detention Center’s Food
       29      Service Post Orders, Bates Nos. CCOG8028 through                676-681
13
               CCOG8033.
14             (Redacted Public Version per Court Order Dkt. No. 107)
15
               A true and correct copy of an excerpt from a Disciplinary
       30      Log, Bates No. CCOG25046.                                       682-684
16             (Redacted Public Version per Court Order Dkt. No. 107)
17             A true and correct copy of an excerpt from a Disciplinary
       31      Log, Bates No. CCOG25153.                                       685-687
18             (Redacted Public Version per Court Order Dkt. No. 107)
19             A true and correct copy of an excerpt from a Disciplinary
       32      Log, Bates No. CCOG25049.                                       688-690
20             (Redacted Public Version per Court Order Dkt. No. 107)
21             A true and correct copy of an excerpt from a Disciplinary
       33      Log, Bates No. CCOG25045.                                       691-693
22             (Redacted Public Version per Court Order Dkt. No. 107)
23             A true and correct copy of Plaintiff Jonathan Gomez’s
       34      Commissary Purchase Record, Bates Nos. CCOG45309                694-712
24             through CCOG45327.
25             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of a detainee Commissary Purchase
26     35      Record, Bates Nos. CCOG56592 through CCOG56601.                 713-722
27             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of a detainee Commissary Purchase
28     36                                                                      723-726
               Record, Bates Nos. CCOG57056 through CCOG57059.
               (Redacted Public Version per Court Order Dkt. No. 107)
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 1   Exhibit
                                       Description                              Page Nos.
 2    No.
               A true and correct copy of Plaintiff Sylvester Owino’s
 3     37      Commissary Purchase Record, Bates Nos. CCOG45345                  727-729
 4             through CCOG45347.
               (Redacted Public Version per Court Order Dkt. No. 107)
 5             A true and correct copy of a detainee Commissary Purchase
 6     38      Record, Bates Nos. CCOG74453 through CCOG74454.                   730-731
               (Redacted Public Version per Court Order Dkt. No. 107)
 7
               A true and correct copy of a detainee Commissary Purchase
 8     39      Record, Bates Nos. CCOG54219 through CCOG54220.                   732-733
               (Redacted Public Version per Court Order Dkt. No. 107)
 9
               A true and correct copy of a detainee Commissary Purchase
10     40      Record, Bates Nos. CCOG54050 through CCOG54051.                   734-735
               (Redacted Public Version per Court Order Dkt. No. 107)
11
               A true and correct copy of a detainee Commissary Purchase
12     41      Record, Bates Nos. CCOG74650 through CCOG74654.                   736-740
               (Redacted Public Version per Court Order Dkt. No. 107)
13
               A true and correct copy of a detainee Commissary Purchase
14     42      Record, Bates Nos. CCOG74564 through CCOG746566.                  741-743
15
               (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of Otay Mesa Detention Center’s
16     43      Facility Commissary Checking Account Policy, effective            744-747
17             September 1, 2015, Bates Nos. CCOG2503 through
               CCOG2506.
18             (Public Version per Court Order Dkt. No. 107)
19             A true and correct copy of Defendant’s response to Plaintiffs
       44      Request for Admission, Set One, dated November 1, 2019.           748-753
20
               A true and correct copy of an excerpt of a spreadsheet for
21     45      California City Correctional Facility, Bates No. CCOG9314.        754-763
               (Redacted Public Version per Court Order Dkt. No. 107)
22
               A true and correct copy of an excerpt of a spreadsheet for
23     46      California City Correctional Facility, Bates No. CCOG25034.       764-773
               (Redacted Public Version per Court Order Dkt. No. 107)
24
               A true and correct copy of an excerpt of a spreadsheet for
25     47      Otay Mesa Detention Center, Bates No. CCOG9326.                   774-783
26
               (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for San
27     48      Diego Correctional Facility, Bates No. CCOG9327.                  784-793
28             (Redacted Public Version per Court Order Dkt. No. 107)


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 1   Exhibit
                                        Description                             Page Nos.
 2    No.
               A true and correct copy of an excerpt of a spreadsheet for San
 3     49      Diego Correctional Facility, Bates No. CCOG25043.                 794-803
 4             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for San
 5     50      Diego Correctional Facility, Bates No. CCOG25044.                 804-813
 6             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
 7     51                                                                        814-823
               Central Arizona Florence Complex, Bates No. CCOG9302.
 8             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
 9     52                                                                        824-831
               Central Arizona Florence Complex, Bates No. CCOG9303.
10             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
11     53                                                                        832-841
               Central Arizona Florence Complex, Bates No. CCOG9304.
12             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
13     54                                                                        842-850
               Central Arizona Florence Complex, Bates No. CCOG9305.
14             (Redacted Public Version per Court Order Dkt. No. 107)
15
               A true and correct copy of an excerpt of a spreadsheet for
       55      Central Arizona Florence Complex, Bates No. CCOG9306.             851-860
16             (Redacted Public Version per Court Order Dkt. No. 107)
17             A true and correct copy of an excerpt of a spreadsheet for
       56      Cibola County Correctional Center, Bates No. CCOG9315.            861-870
18             (Redacted Public Version per Court Order Dkt. No. 107)
19             A true and correct copy of an excerpt of a spreadsheet for
       57      Elizabeth Detention Center, Bates No. CCOG9317.                   871-880
20             (Redacted Public Version per Court Order Dkt. No. 107)
21             A true and correct copy of an excerpt of a spreadsheet for
       58      Elizabeth Detention Center, Bates No. CCOG25035.                  881-890
22             (Redacted Public Version per Court Order Dkt. No. 107)
23             A true and correct copy of an excerpt of a spreadsheet for
       59      Eloy Detention Center, Bates No. CCOG9316.                        891-900
24             (Redacted Public Version per Court Order Dkt. No. 107)
25             A true and correct copy of an excerpt of a spreadsheet for
       60      Florence Correctional Center, Bates No. CCOG9307.                 901-910
26
               (Redacted Public Version per Court Order Dkt. No. 107)
27             A true and correct copy of an excerpt of a spreadsheet for
       61      Florence Correctional Center, Bates No. CCOG9308.                 911-920
28
               (Redacted Public Version per Court Order Dkt. No. 107)

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 1   Exhibit
                                        Description                            Page Nos.
 2    No.
               A true and correct copy of an excerpt of a spreadsheet for
 3     62      Florence Correctional Center, Bates No. CCOG9309.                921-930
 4             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
 5     63      Florence Correctional Center, Bates No. CCOG9310.                931-940
 6             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
 7     64                                                                       941-950
               Florence Correctional Center, Bates No. CCOG9311.
 8             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
 9     65                                                                       951-960
               Florence Correctional Center, Bates No. CCOG9312.
10             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
11     66                                                                       961-970
               Florence Correctional Center, Bates No. CCOG9313.
12             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
13     67                                                                       971-980
               Florence Correctional Center, Bates No. CCOG25041.
14             (Redacted Public Version per Court Order Dkt. No. 107)
15
               A true and correct copy of an excerpt of a spreadsheet for
       68      Houston Processing Center, Bates No. CCOG9318.                   981-990
16             (Redacted Public Version per Court Order Dkt. No. 107)
17             A true and correct copy of an excerpt of a spreadsheet for
       69      Houston Processing Center, Bates No. CCOG9319.                  991-1000
18             (Redacted Public Version per Court Order Dkt. No. 107)
19             A true and correct copy of an excerpt of a spreadsheet for
       70      Houston Processing Center, Bates No. CCOG9320.                  1001-1010
20             (Redacted Public Version per Court Order Dkt. No. 107)
21             A true and correct copy of an excerpt of a spreadsheet for T.
       71      Don Hutto Residential Center, Bates No. CCOG9321.               1011-1020
22             (Redacted Public Version per Court Order Dkt. No. 107)
23             A true and correct copy of an excerpt of a spreadsheet for T.
       72      Don Hutto Residential Center, Bates No. CCOG25036.              1021-1030
24             (Redacted Public Version per Court Order Dkt. No. 107)
25             A true and correct copy of an excerpt of a spreadsheet for La
       73      Palma Correctional Facility, Bates No. CCOG9323.                1031-1040
26
               (Redacted Public Version per Court Order Dkt. No. 107)
27             A true and correct copy of an excerpt of a spreadsheet for
       74      Laredo Processing Center, Bates No. CCOG9322.                   1041-1050
28
               (Redacted Public Version per Court Order Dkt. No. 107)

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 1   Exhibit
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 2    No.
               A true and correct copy of an excerpt of a spreadsheet for
 3     75      Nevada Southern Detention Center, Bates No. CCOG9325.        1051-1060
 4             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
 5     76      Nevada Southern Detention Center, Bates No. CCOG25040.       1061-1070
 6             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
 7     77                                                                   1071-1080
               Northeast Ohio Correctional Center, Bates No. CCOG9324.
 8             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
 9     78                                                                   1081-1090
               Stewart Detention Center, Bates No. CCOG9328.
10             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
11     79                                                                   1091-1100
               Stewart Detention Center, Bates No. CCOG9329.
12             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
13     80                                                                   1101-1110
               South Texas Family Residential Center, Bates No.
14             CCOG9330.
15
               (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
16     81      Tallahatchie County Correctional Facility, Bates No.         1111-1112
17             CCOG25042.
               (Redacted Public Version per Court Order Dkt. No. 107)
18             A true and correct copy of an excerpt of a spreadsheet for
       82      Torrance County Detention Center, Bates No. CCOG9331.        1113-1123
19
               (Redacted Public Version per Court Order Dkt. No. 107)
20             A true and correct copy of an excerpt of a spreadsheet for
       83      Torrance County Detention Center, Bates No. CCOG25037.       1124-1133
21
               (Redacted Public Version per Court Order Dkt. No. 107)
22             A true and correct copy of an excerpt of a spreadsheet for
       84      Webb County Detention Center, Bates No. CCOG9332.            1134-1143
23
               (Redacted Public Version per Court Order Dkt. No. 107)
24             A true and correct copy of an excerpt of a spreadsheet for
25
       85      Webb County Detention Center, Bates No. CCOG25038.           1144-1153
               (Redacted Public Version per Court Order Dkt. No. 107)
26             A true and correct copy of an excerpt of a spreadsheet for
27     86      West Tennessee Detention Facility, Bates No. CCOG23010.      1154-1158
               (Redacted Public Version per Court Order Dkt. No. 107)
28


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 1   Exhibit
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 2    No.
               A true and correct copy of an excerpt of a spreadsheet for
 3     87      West Tennessee Detention Facility, Bates No. CCOG23011.         1159-1160
 4             (Redacted Public Version per Court Order Dkt. No. 107)
               A true and correct copy of an excerpt of a spreadsheet for
 5     88      California City Correctional Facility, Elizabeth Detention      1161-1170
 6             Center, Eloy Detention Center, Florence Correctional Center,
               Houston Processing Center, T. Don Hutto Residential Center,
 7
               Laredo Processing Center, Nevada Southern Detention
 8             Center, North Georgia Detention Center, San Diego
               Correctional Facility, Stewart Detention Center, Tallahatchie
 9
               County Correctional Facility, Torrance County Detention
10             Center, Bates No. CCOG230.
               (Redacted Public Version per Court Order Dkt. No. 107)
11

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